ELSIE A. DREXLER, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Drexler v. CommissionerDocket Nos. 31772, 41818.United States Board of Tax Appeals25 B.T.A. 79; 1932 BTA LEXIS 1579; January 7, 1932, Promulgated *1579  1.  Income from property of a revocable trust held taxable to the grantor under section 219(g) of the Revenue Act of 1926, notwithstanding the fact that such income was distributable to charitable organizations.  2.  Certain residence property owned by petitioner was used by relatives during the taxable years without payment of rent therefor.  Held, that the respondent correctly disallowed deductions for repairs, insurance and depreciation in respect of such property.  Marcel E. Cerf, Esq., Henry Robinson, Esq., and Myrtile Cerf, C.P.A., for the petitioner.  F. R. Shearer, Esq., for the respondent.  LANSDON *79  The respondent has asserted deficiencies in income taxes for 1924, 1925 and 1926, in the respective amounts of $2,298.14, $1,758.80 and $1,341.47.  The issues raised are: (1) Whether income from property of a revocable trust which was distributable to charitable organizations is taxable to petitioner under section 219(g) of the Revenue Act of 1926; and (2) whether the petitioner is entitled to deductions for depreciation, repairs and insurance on residence property owned by her which was used by certain of her relatives without*1580  payment of rent therefor.  FINDINGS OF FACT.  The petitioner is an individual residing in San Francisco, California.  On April 1, 1920, she executed a trust instrument whereby she conveyed certain lands located in San Joaquin County, California, in trust for the following purposes: * * * To establish, build, improve, equip, operate, maintain, aid and endow public charitable (including educational) institutions, agencies and activities; but exclusively for the purposes of aiding them in their public charitable (including educational) work: The instrument gave the trustees power to dispose of the income as they might elect, so long as it was for charitable uses.  The petitioner was one of the trustees.  In the trust conveyance she reserved the right, during her life, to fill any vacancy in the trustees.  She was active, at all times, in the actual distribution of the income.  The last paragraph of the trust instrument provides, in part, as follows: The said party of the first part hereby expressly reserves the right and power to revoke, at any time during her life, the conveyance and all of the Trusts evidenced by this indenture, * * * and upon such revocation the said Trusts*1581  shall forthwith cease, and the title to all of said property and estate - whether it be that herein specifically described or any subsequently acquired - shall vest in and all of it shall belong to the said party of the first part, free from any trusts or claims whatsoever.  *80  The net income from the trust for each of the taxable years was distributed to the Hospital and School for Convalescent Children, an incorporated charitable institution located at Palo Alto, California, which had been built largely with funds borrowed on the trust property.  Though not specifically named in the trust instrument, the trust was created primarily for the purpose of providing funds for that institution.  For the respective taxable years the net income of the trust was $19,179.33, $19,000 and $12,218.16, none of which was reported by the petitioner on her income-tax returns.  The respondent has included the amounts in her gross income and has allowed deductions for charitable contributions under section 214(a)(10) of the Revenue Act of 1926, limited, however, to 15 per cent of petitioner's net income.  Some time prior to the taxable years petitioner built a residence in San Francisco, *1582  which was used without payment of rent by an aunt of petitioner's husband.  She purchased another residence in San Francisco, which was used without payment of rent by petitioner's brother and sister.  On her income-tax return for 1926 petitioner deducted $900 for depreciation, $500 for taxes paid, $712 for repairs, and $91.13 for insurance on such residence property.  She reported, as income received from such property, the amount of $120 collected from an insurance company on account of a small fire.  The respondent increased petitioner's net income by $2,083.18, which represents the total of the deductions less the $120 income reported.  In 1926 the petitioner paid State and county taxes in the amount of $400.90 on the above properties, which amount the respondent concedes to be a proper deduction.  OPINION.  LANSDON: The petitioner contends that the trust here involved is a charitable organization and that it is exempt from tax under section 231 of the Revenue Act of 1926.  The respondent has determined that it is taxable under section 219.  Clearly the petitioner does not come within the provisions of section 231.  The law there refers to an organization which is engaged*1583  in carrying on a charitable function.  A revocable trust is taxable under section 219, which provides in subsection (g) as follows: Where the grantor of a trust has, at any time during the taxable year, either alone or in conjunction with any person not a beneficiary of the trust, the power to revest in himself title to any part of the corpus of the trust, then the income of such part of the trust for such taxable year shall be included in computing the net income of the grantor.  Under the above provisions of the act, which contain no limitation, the petitioner is taxable on the income from the trust property, regardless of the nature of the trust.  Cf. ; *81 ; ; ; . We think it is clear that the two residence properties acquired by petitioner for the use and occupancy of her relatives were not used in carrying on a business or held for income-producing purposes and that she is entitled to no deduction for expenses incurred*1584  for maintaining such properties.  The respondent now concedes that $400.90 paid as taxes on petitioner's residential property should be allowed as a deduction.  Decision will be entered under Rule 50.